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     Office of the U.S. Trustee
 4   450 Golden Gate Avenue, Suite 05-0153
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 7
     Attorneys for Andrew R. Vara,
 8   Acting United States Trustee for Region 3 1
 9
                                 UNITED STATES BANKRUPTCY COURT
10                               NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
11
         In re                                            )     Case Nos. 19-30088 DM (Lead Case)
12                                                        )
         PG&E CORPORATION                                 )                  19-30089 DM
13                                                        )
                 and                                      )     Chapter 11
14                                                        )
         PACIFIC GAS AND ELECTRIC                         )     Jointly Administered
15       COMPANY,                                         )
                                                          )
16                                                        )
                              Debtors.                    )
17                                                        )
                                                          )
18                                                        )
         ☐       Affects PG&E Corporation                 )     Date: May 22, 2019
19       ☐       Affects Pacific Gas and Electric         )     Time: 9:30 a.m.
                 Company                                  )     Place: Hon. Dennis Montali
20       ☒       Affects both Debtors                     )            450 Golden Gate Avenue
                                                          )            16th Floor, Courtroom 17
21       * All papers shall be filed in the Lead          )            San Francisco, CA 94102
         Case No. 19-30088 DM.                            )
22                                                        )
23          NOTICE OF HEARING ON MOTION OF THE UNITED STATES TRUSTEE
         FOR ORDER APPOINTING FEE EXAMINER AND ESTABLISHING PROCEDURES
24             FOR CONSIDERATION OF REQUESTED COMPENSATION AND
                           REIMBURSEMENT OF EXPENSES
25
26
27
28   1  Andrew R. Vara, Acting United States Trustee for Region 3, is acting in this appointment for Tracy Hope Davis,
     United States Trustee for Region 17, who is recused from the above-captioned cases.



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                                                         2
 1
            PLEASE TAKE NOTICE that a hearing will be held on May 22, 2019 at 9:30 a.m.,
 2
     before the Honorable Dennis Montali, 450 Golden Gate Avenue, 16th Floor, Courtroom 17,
 3
     San Francisco, CA 94102, on Motion of the United States Trustee for Order Appointment Fee
 4
     Examiner and Establishing Procedures for Consideration of Requested Compensation and
 5
     Reimbursement of Expenses.
 6
            The Motion is based upon the notice of hearing and declaration filed concurrently
 7
     herewith, the pleadings, orders, and other documents on file in this case, and upon such evidence
 8
     as may be presented to the Court at the hearing on the Motion. You may obtain a copy of the
 9
     Motion, the memorandum in support, and accompanying declaration from the Court’s docket on
10
     the PACER system or by contacting the undersigned.
11
      A RESPONSE, IF ANY, TO THE MOTION SHALL BE MADE IN WRITING AND SERVED UPON THE
12    UNITED STATES TRUSTEE, AND FILED WITH THE BANKRUPTCY COURT, AT LEAST
13    FOURTEEN (14) DAYS PRIOR TO THE HEARING DATE PURSUANT TO B.L.R. 9014-1(C)(1).

14                                                        Andrew R. Vara
                                                          Acting United States Trustee, Region 17
15
     Dated: April 12, 2019                         By: /s/ Timothy S. Laffredi
16                                                      Timothy S. Laffredi
                                                        Assistant United States Trustee
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